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10
11   Attorneys for Defendant Junzo Suzuki
12                                     United States District Court
13                                         District of Nevada
14   United States of America,                     Case No. 2:15-CR-00198-GMN-NJK-2
15                   Plaintiff,
16          v.                                      Stipulation to Modify Conditions of Pretrial
                                                                    Supervision
17   Junzo Suzuki,
18                   Defendant.                                       (First Request)

19
20          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
21   Trutanich, United States Attorney; Danny Nguyen, Department of Justice Attorney; William
22   Johnston, Department of Justice Attorney; and Richard Anthony Lopez, Assistant United States
23   Attorney, all counsel for the United States; and Richard A. Wright Esq. of Wright Marsh &
24   Levy and Junji Suzuki Esq. of Marshall Suzuki Law Group, LLP, counsel for the Defendant,
25   Junzo Suzuki, that the conditions of pretrial release be modified to allow for Junzo Suzuki to
26   leave his home for specific purposes as supervised by the United States Pretrial Office. Both
     the government and U.S. Pretrial agree with the below request.


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 1      This stipulation is entered into for the following reasons:
 2   1. An Emergency Motion to Reopen the Detention Hearing, (ECF No. 374) was filed by
 3      Defendant Junzo Suzuki to which the Government filed a Response, (ECF No. 376).
 4      This Court granted Defendant’s Emergency Motion as of April 6, 2020 (ECF No. 377).
 5      Shortly thereafter, Junzo Suzuki was temporarily released under strict court-ordered
 6      conditions. Id.
 7   2. On June 1, 2020 Defendant Junzo Suzuki filed an Unopposed Motion for Order
 8      Extending Pretrial Release for Additional Sixty (60) Days (ECF No. 383), and the Court
 9      granted this motion and the Defendant’s pretrial release under the same conditions. See
10      ECF No. 384. A second unopposed motion to extend pretrial release was filed. ECF
11      No. 391. On July 28, 2020, the Court granted it under the same conditions outlined in
12      the Court’s previous order, ECF No. 377. ECF No. 392.
13   3. On September 3, 2020, Junzo Suzuki filed his first unopposed motion to modify the
14      conditions of his pretrial release requesting permission to leave his residence for a
15      haircut. ECF No. 397. On September 5, 2020, the Court granted the requested
16      modification. ECF No. 398.
17   4. On September 23, 2020, a third unopposed motion to extend pretrial release was filed
18      under the same conditions previously ordered. ECF No. 399. On September 24, 2020,
19      it was granted. ECF 400.     Junzo Suzuki’s current temporary pretrial release has been
20      extended to December 1, 2020, subject to additional requests to extend.
21   5. On October 5, 2020, Junzo Suzuki filed a second unopposed motion to modify his
22      pretrial release conditions. In summary, the requested modification would allow him to
23      participate in home confinement that restricts him to his home for a 24-hour-a-day lock-
24      down except for medical necessities and court appearances or other activities
25      specifically approved by the court, GPS monitoring, and modified the third-party
26      custodian requirement. ECF No. 401. The court granted this request on October 6, 2020.
        ECF 402.


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 1      6. Given the home incarceration condition imposed, leave of court is required to allow
 2          Junzo Suzuki the ability to leave his home for other reasons. Thus, he now requests this
 3          Court to modify his pretrial release conditions to include the following:
 4             •   That Junzo Suzuki is allowed to walk outside his residence for 30 minutes a
                   day, 5 times a week.
 5
 6             •   That Junzo Suzuki is allowed to leave the home daily to take the trash out and
                   drop off/pick up mail from the community mailbox. This departure and return
 7                 would be separate and apart from his daily walk.
 8             •   United States Pretrial will supervise and coordinate a schedule and approved
                   zone for activity outside his residence with Junzo Suzuki.
 9
10
        7. The first modification is requested because Junzo Suzuki suffers from a medical issue
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            and his family doctor has requested that he be able to walk briskly for 30 minutes at
12
            least 5 days a week to maintain his health. The defense has provided the necessary
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            medical documents to the government for its review during its meet and confer
14
            obligation. The government and U.S. Pretrial agree with this requested modification.
15
        8. The second modification is requested because Junzo Suzuki is now living on his own.
16
            He needs the ability to depart and return from his home for the sole purpose of taking
17
            out the trash and picking up mail. Both locations are outside the perimeters of the home.
18
            Both the government and U.S. Pretrial agree with this request.
19
        9. All other conditions of pretrial release would remain in effect.
20
            Dated: October 20, 2020.
21
                                                     Respectfully submitted,
22
23
     WRIGHT MARSH & LEVY                                  NICHOLAS A. TRUTANICH
24                                                        United States Attorney
25
     By: /s/ Richard A. Wright                    By: /s/ William Johnston
26
         Richard A. Wright, Esq                       Danny Nguyen, Department Of Justice
         Junji Suzuki, Esq.                           William Johnston, Department of Justice
         Attorneys for Junzo Suzuki                   Richard Anthony Lopez, Assistant AUSA

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 1                                     United States District Court
 2                                          District of Nevada
 3   United States of America,                       Case No. 2:15-CR-00198-GMN-NJK-2
 4                   Plaintiff,
 5          v.                                                       [Proposed] Order
 6   Junzo Suzuki,
 7                   Defendant.
 8
            Pursuant to the Stipulation of the Parties and for good cause appearing:
 9
            IT IS HEREBY ORDERED: that the conditions of Defendant Junzo Suzuki’s pretrial
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     release be modified as follows:
11
                 1. That Junzo Suzuki is allowed to walk outside his residence for 30 minutes a
12                   day, 5 times a week.
13
                 2. That Junzo Suzuki is allowed to leave the home daily to take the trash out and
14                  drop off/pick up mail from the community mailbox. This departure and return
                    would be separate and apart from his daily walk.
15
                 3. United States Pretrial will supervise and coordinate a schedule and approved
16
                    zone for activity outside his residence with Junzo Suzuki.
17
                 4. All other conditions of pretrial release will remain in effect.
18
19   IT IS SO ORDERED.
20              20 day of October, 2020.
     DATED this ____
21
22
23
                                                   Gloria M. Navarro, District Judge
24                                                 United States District Court
25
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